904 F.2d 700Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Langston OLIVER, Plaintiff-Appellant,v.Superintendent OSBORNE, Defendant-Appellee.
    No. 90-6808.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 7, 1990.Decided:  May 23, 1990.Rehearing Denied Aug. 14, 1990.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.  Hiram H. Ward, Senior District Judge.  (C/A No. 89-287-G).
      Langston Oliver, appellant pro se.
      Lucien Capone, III, Assistant Attorney General, Raleigh, N.C., for appellee.
      M.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Langston Oliver appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Oliver v. Osborne, C/A No. 89-287-G (M.D.N.C. Feb. 13, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    